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                             UNITED STATES DISTRICT COURT
                                        FOR THE
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                                 DISTRICT OF VERMONT

UNITED STATES OF AMERICA                                                                         tLIilr{
        v.
                                                         Case No. 2:19-cr-00122
SEAN GUILLETTE,

                Defendant.

    OPINION AND ORDER DENYING DEFENDANT'S MOTION TO SI]PPRESS
                       PHYSICAL EVIDENCE
                             (Doc.48)
         Pending before the court is Defendant Sean Guillette's motion to suppress
physical evidence obtained as a result of an April 19,2019 seizure of her phone. (Doc.
48.) Defendant argues that the seizure violated the Fourth Amendment to the United
States Constitution because the phone was seized from her vehicle without a warrant

while the vehicle was parked at her residence. The government filed an opposition on
February 3,202L On March29,202l,the court held an evidentiary hearing at which
Burlington Police Department ("BPD") Corporal Jennifer Cousins testified. At the
conclusion of the hearing, the court took the pending motion under advisement.
         Defendant is charged with two counts each of the following: knowingly receiving
a   visual depiction involving the use of a minor engaging in sexually explicit conduct in
violation of 18 U.S.C. g 2252(a)(2); knowing possession of one matter which contains             a

visual depiction involving the use of a minor engaging in sexually explicit conduct in
violation of 18 U.S.C. $ 2252(a)(a)@); and knowingly and intentionally transporting and
shipping a visual depiction involving the use of a minor engaging in sexually explicit
conduct in violation of 18 U.S.C. $ 2252(a)(l).
         The government is represented by Assistant United States Attorneys Barbara A.
Masterson, Nathanael T. Burris, and Nicole P. Cate. Defendant is represented by

Assistant Federal Public Defender David L. McColgin.
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 I.     Findings of Fact.
        On   April   ll,
                    2}lg,Corporal Cousins responded to 25 Elmwood Avenue,
Apartment 8 in Burlington, Vermont to investigate arcportof domestic assault. 25
Elmwood Avenue is a multi-unit apartment building on the west side of Elmwood
Avenue. The building consists of four interconnected structures which almost entirely
encircle a paved parking area. Apartment 8 is located in the building on the north side       of
the properly. Unmarked parking spaces are located around the perimeter of the parking

 atean.eat the buildings.     A driveway on the south side of the property provides ingress   and
egress from Elmwood Avenue. The driveway is sufficiently broad to allow vehicles to

continue to access Elmwood Avenue even if the parking spots along the south side of the
driveway are occupied.

       At the time of her arrival at 25 Elmwood Avenue, Corporal Cousins's body
camera footage depicted six vehicles parked in unmarked parking spaces in front of the

buildings and in unmarked parking spaces along the south side of the driveway. A dark
blue Toyota Highlander (the "Highlander") was not among them. Corporal Cousins spoke
with Victoria Morrison who told her that she was Defendant's girlfriend of three years,
that she and Defendant had lived together in Apartment 8 for ayear, and they were both
on the lease. She advised that Defendant had threatened to      kill her and had thrown apat
of glasses and a bottle of Windex at her, hitting her with them. She told Corporal Cousins
that she wanted Defendant "charged." (Government's Exhibit 3A at5.) Thereafter,
Corporal Cousins and Ms. Morrison decided to move outside of the apartment to speak
further because corporal cousins was allergic to Ms. Morrison,s cats.
       As they exited the apartment, Defendant entered the apartment building through an
exterior door in front of the door to Apartment 8. Defendant and Corporal Cousins
greeted each other. Corporal Cousins advised that she was going to speak to Ms.

Morrison outside and asked Defendant: "[D]o you want to go inside and I'll come chat
with you in a minute?" to which Defendant responded: ,.Sure.,, Id. atg. At the time,
Corporal Cousins's body camera footage depicted the Highlander parked on the south
side of the driveway.      At least five other vehicles were parked closer to Apartment 8 than
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the Highlander.

        Because of Defendant's arrival on the scene, Corporal Cousins requested
assistance from a second unit. Corporal Cousins issued an oath to Ms. Morrison who then

averred that Defendant threw her on the bed and tried to smother her by shoving her head

into the mattress, causing her trouble breathing and pain which she rated a nine out of ten.
She further advised that this was not the first time that Defendant had done this.

        At approximately 10:23 a.m., Corporal Erica Schaller arrived on the scene.
Corporal Cousins and Corporal Schaller knocked on the outer door of the apartment
building and called Defendant's name but received no answer. A neighbor opened the
outer door of the building and let BPD officers into the building's common area. The
neighbor informed the BPD officers that Defendant had been "screaming a lot lately"
including "the other day" and that she almost called the police . Id. at 19. She stated that
                  o'a
Defendant was           little high and low" and was "really nice sometimes." Id. at 19-20. The
neighbor provided her name, date of birth, and phone number and reported that Ms.
Morrison was 'osaying things like, I want my car back, or something which I didn't know
was   - I always thought     that car was [Defendant's]." Id. at 21. She commented that
Defendant has purchased a vehicle without considering the absence of a parking spot for
it. Corporal Cousins asked to which car she was referring and the neighbor replied that it
was the blue wagon and that Defendant had asked to park it behind her car because

Defendant did not have a parking spot. The neighbor indicated that she had recorded an
interaction between Defendant and Ms. Morrison and that she would send the recording
to Corporal Cousins.
        Apartment 8 was locked and Ms. Morrison did not have her keys with her.
Because she had complained that she was cold and asked for her sweatshirt, Corporal

Cousins knocked on the door to Apartment 8 and stated that she needed to o'grab
                                                                                [Ms.
Morrison's] sweatshirt." Id. at23. Again, there was no answer.
        While Corporals Cousins and Schaller affempted to make contact with Defendant,
Ms. Morrison waited outside the apartment building with BPD Officer Kory Orfant. She
told Officer Orfant that she did not drive, did not have an operator's license, and that
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Defendant also did not have an operator's license. She again stated that she was cold and
told Officer Orfant that she was going to sit in the car. Officer Orfant asked Ms. Morrison
if the Highlander was her car and she stated that it was. She opened the Highlander's
unlocked front passenger door and remarked that Defendant's cell phone was still inside
the vehicle. Officer Orfant asked Ms. Morrison whether there was another door or

window to her apartment and she walked around the side of the apartment building to
show the BPD officers the location of the bathroom window of Apartment 8. Ms.

Morrison returned to the Highlander, opened its passenger door, and sat in the front
passenger seat of the vehicle for approximately four minutes. Thereafter, she entered the

Highlander for a third time and again sat in the front passenger seat where she stayed
with the passenger door intermittently open and closed for approximately sixteen
minutes. When Ms. Morrison exited the vehicle, she told Corporal Cousins that the jacket
she was wearing had been   in the Highlander and belonged to Defendant.
       After determining that Defendant was no longer inside the apartment building,
Corporal Cousins and BPD Sergeant Christopher Nadeau spoke to Ms. Morrison in the
common area of the building where she informed them that Defendant had been looking
at "kiddie porn" on a cell phone and was a "high-risk sex offender." (Doc. 54-4 at 57:15.)

She stated that the officers should "check [Defendant's] phone" and reported that, the

previous evening, she had seen Defendant watching a video of an approximately four-
year-old boy masturbating with a toy. Id. Ms. Morrison told BPD officers that Defendant

was "constantly" looking at ten and eleven-year-old females in various stages of undress

and viewing pornography in which the females appeared underage. (Government's

Exhibit 34 at 47.) She informed Corporal Cousins that Defendant's cell phone was in the
Highlander.
       Ms. Morrison spoke with BPD's Domestic Violence Investigator after which she
stated that she did not wish to provide any further statements and did not wish to file for a

restraining order against Defendant. While BPD officers were on the scene, several
individuals used the driveway and walked past the Highlander.
       When the officers left 25 Elmwood Avenue and retumed to BPD, Corporal
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Cousins consulted with Sergeant Nadeau who suggested that she should secure the cell

phone that Ms. Morrison had indicated contained child pornography. Corporal Cousins

called Ms. Morrison and asked her     "if the phone   was still there." Ms. Monison informed

Corporal Cousins that Defendant's cell phone was still in the Highlander and that it was a
Samsung phone. Corporal Cousins told Ms. Morrison that she would come back to

retrieve the phone. Corporal Cousins testified that it is not her practice to ask non-law
enforcement individuals to obtain and secure evidence on her behalf. The court finds
Corporal Cousins's testimony credible.

        When Corporals Cousins and Schaller returned to 25 Elmwood Avenue, they met
with Ms. Morrison who handed them a Samsung cell phone and stated it was the cell
phone Defendant used to view alleged child pornography. Corporal Cousins took the

Samsung cell phone and removed its battery to prevent       it from being wiped remotely.
BPD did not investigate the registration of the Highlander to determine its ownership
prior to the seizure of the Samsung cell phone.
        On     April 23,2019, BPD Detective Thomas Chenette, who was investigating
Defendant's alleged possession of child pornography, learned that on March 16,2019,
Instagram had made a report to the National Center for Missing and Exploited Children

concerning a suspected upload of a file of child pornography from a user screenname         of
seanguillette5T l 0 with the associated email address ooseanguill ette2@gmai1.com."

Detective Chenette reviewed the file and discovered "an image file of a prepubescent
female, about 11 years old, nude on her back on a bed with her legs above her and her
vagina and anus visible. The focal point of the image is the child's genitals." (Doc.54-2
at 14.) Instagram provided the name "Seanguillette" as associated with the account, as
well   as   the phone number 8024959442 which Detective Chenette avers matches the
number of the Samsung phone seized on       April 11,2019.
            That same day, BPD received a report from Pathways Vermont that on    April 18,
2019, Defendant had logged into her iCloud account using a computer at Pathways'

community center and was attempting to delete child pornography from her cell phone.
Pathways gave the computer to BPD and provided written consent for it to be searched.
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      On April 24,2019, Detective Chenette obtained a search warrant for the Samsung

cell phone that was seized from the Highlander. On April 26,2019, Defendant returned to
Pathways where she was arrested for the domestic assault of Ms. Morrison. On         Apirl27,
2019, Detective Chenette executed the state search warrant on the Samsung cell phone.

Based on the evidence obtained by virtue of the state search warrant, Homeland Security

Special Agent Michael McCullagh obtained a federal search wanant for the Samsung cell

phone which revealed alleged child pornography.

      On May 2,2019, a BPD officer informed Detective Chenette that the Pathways

computer contained multiple images of alleged child pornography and photos         of
Defendant with an access date of   April I 8, 2019. On May 17 , 2019, Detective     Chenette
obtained search warrants for the "seanguillette2@gmail.com" email account, a
o'seanguillettel6@gmail.com" email
                                     account, the ooseanguillette5Tl0" Instagram account,
and an Alcatel phone seized from Defendant at the time of her arrest.

IL    Conclusions of Law and Analysis.
      A.     Whether Ms. Morrison Acted as a Government Agent in Seizing
             Defendant's Samsung Phone.
      The Fourth Amendment protects the "right of the people to be secure in their
persons, houses, papers, and effects, against unreasonable searches and seizures" absent

"probable cause, supported by oath or affirmation[.]" U.S. CoNst. amend. IV. '.A 'search
occurs when an expectation of privacy that society is prepared to consider reasonable is
infringed. A 'seizure' of property occurs when there is some meaningful interference
with an individual's possessory interests in that property." United States v. Jacobsen,466
U.S. 109, 113 (1984) (footnotes omitted).
      The Fourth Amendment governs "only governmental action; it is wholly
inapplicable to a search or seizure, even an unreasonable one, effected by aprivate
individual not acting as an agent of the Government or with the participation or
knowledge of any govemment official." Id. (internal quotation marks and citation
omitted). However,   "if, in conducting the search, the searcher is acting   as an instrument

or agent of the Government, there is a Fourth Amendment transgression." United States
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v. Bennett, 709 F.2d 803, 805 (2d Cir. 1983) (observing that "some degree          of
govefirmental knowledge and acquiescence" must be established to find a private
person's search violates the Fourth Amendment).
         A search conducted by private individuals at the instigation of a
         government officer or authority [is] attributable to the government for
         purposes of the Fourth Amendment . . . only where there is a sufficiently
         close nexus between the State and the challenged action of the . . . entity so
         that the action of the latter may be fairly treated as that of the State itself[.]
United States v. DiTomasso, 932       F   .3d 58, 67 -68 (2d Cir. 2019) (internal quotation marks
and citations omitted). "The purpose of the close-nexus requirement is to assure that

constitutional standards are invoked only when it can be said that the government is
responsible for the specific conduct of which the accused complains." Id. at 68 (internal
quotation marks, alterations, and citation omiffed). "The requisite nexus is not shown

merely by government approval of or acquiescence in the activity." Id. Onthe other hand,

"'if   [the officer] had a hand in [the search] . . . [s]o long as [she] was in it before the
object of the search was completely accomplished, [she] must be deemed to have
participated in   it."'   United States v. Knoll,16 F.3d 1313, 1320 (2dCir.1994) (quoting
Lustig v. United States,338 U.S. 74,78-79 (1949)).         "[]t   is immaterial whether the
govemment originated the idea for a search or joined it while it was in progress" because

"[t]he government may become aparty to a search through nothing more than tacit
approval." Id.
         "Whether a private party should be deemed an agent or instrument of the
Government for Fourth Amendment purposes necessarily turns on the degree of the
Govemment's participation in the private party's activities, a question that can only be
resolved in light of the circumstances." Skinner y. Ry. Labor Execs.' Ass'n,489 U.S. 602,
614 (1989). "The party objecting to the search has the burden to establish by a

preponderance of the evidence that the government involvement was significant enough

to change the character of the search." United States v. Couch,378 F. Supp. 2d 50,55
(N.D.N.Y. 2005) (citing United States v. Feffir,83l F.2d 734,739 (7th Cir. 1987));
United States v. Snowadzki,723 F.2d 1427,1429 (gth Cir. 1984) (holding that "[t]he
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burden of establishing government involvement in a private search rests on the parly
objecting to the evidence").
       In deciding whether     a private person is acting as a govemment agent, courts

"considerf]: (i) whether the government knew of and acquiesced in the citizen's conduct,
(ii) whether the citizen intended to assist law enforcement, and (iii) whether the citizen
acted at the government's request." [Jnited States v. Stephen, 984 F.3d 625,629 (8th Cir.
2021); see also United States v. Dupree, 781 F. Supp. 2d      ll5,l58   (E.D.N.Y. 2011)
(holding that "[t]o determine whether    a   private party acted as a govemment agent, the
court must consider whether the government knew or at least acquiesced in the search
and seizure and whether the private searcher intended to assist law enforcement as

opposed to simply achieving [her] own ends") (internal quotation marks and citations

omitted).
       In this case, Defendant asserts that Ms. Morrison was acting as an agent of the
govemment when she retrieved the Samsung cell phone from the Highlander and gave it

to Corporal Cousins because, by asking Ms. Morrison to       veriff its presence in the
Highlander and stating that she would return to retrieve it, Corporal Cousins tacitly
"encourage[ed] [Ms. Morrison] to seize [Ms.] Guillette's Samsung phone from [her] car."
(Doc. 48 at 3.) The govemment counters that the court o'need not decide the issue of

whether Morrison was acting as an agent of law enforcement because . . . no warrant was
required to search the Highlander." (Doc. 54 at 10.)
       Ms. Morrison clearly intended to assist law enforcement when she seized the
Samsung cell phone from the Highlander but Corporal Cousins did not request this

assistance or suggest it would be helpful.    At most, she merely confirmed the Samsung
cell phone's location while stating that she would return to retrieve it. As Ms. Morrison
had previously ceased her engagement with law enforcement after talking to a Domestic

Violence Investigator, Corporal Cousins had no reason to believe that she would take it
upon herself to seize the Samsung cell phone and turn it over to law enforcement. To find

otherwise would task law enforcement with predicting whether, when, and how a private
person asked about the location of a piece of evidence might decide to search for it and
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seize it. Accordingly, Ms. Morrison was not acting as a govemment agent when she

searched the Highlander for Defendant's cell phone, seized it, and provided it to Corporal

Cousins. The court further agrees with the government that this issue is not dispositive   if
the seizure of Defendant's Samsung cell phone was otherwise lawful.

       B.        Whether the Highlander was Parked in the Curtilage of Defendant's
                 Home.
       The government contends that the seizure of Defendant's Samsung cell phone was
permissible because "[a]lthough the Fourth Amendment generally requires police to
obtain a warrant before conducting a search, there is a well-established exception for
vehicle searches." United States y. Jones, 893 F.3d 66, 70 (2d Cir. 2018). "Under the
'automobile exception' to the Fourth Amendment warrant requirement, police may
conduct a warrantless search of a readily mobile motor vehicle if probable cause exists to
believe the vehicle contains contraband or other evidence of a crime." United States v.

Gaskin,364   F   .3d 438, 456 (2d Cir. 2004).
       Defendant does not dispute that the Highlander was readily mobile or that there
was probable cause to search it, but argues that the Highlander was parked "in a location
associated with h[er] apartment and thus within the curtilage of h[er] residence." (Doc. 48

at 4.) The "curtilage" is   "'the area immediately surrounding and associated with the
home"'and is considered "'part of the home itself for Fourth Amendment purposes."'
Collins v. Virginia, 138 S. Ct. 1663, 1670 (2018) (quoting Florida v. Jardines, 569 U.S.
1,6 (2013)). The automobile exception does not permit "a police officer, uninvited and
without a warrant, to enter the curtilage of a home in order to search a vehicle parked
therein." Id. at 1668.
       In United States v. Jones, the Second Circuit held that "the shared driveway of
tenants in two multi-family buildings" was "not within the curtilage of [defendant's]

home" because it was "a common area accessible to other tenants . . . and therefore

[defendant] could not reasonably expect that it should be treated as part of his private
home." 893 F.3d at72. Here, asinJones, the Highlander was parked in a shared
driveway of a multi-family building that was accessible by other tenants and their guests.
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Defendant did not have an assigned parking space in the driveway and did not have the
power to exclude others from the area in which the Highlander was parked. BPD officers'
body cameras recorded multiple individuals accessing the south side of the driveway and
walking by the Highlander during their investigation. This distinguishes the facts from
Collins, where the vehicle was parked "in the portion of the driveway beyond where a
neighbor would venture[.]" 138 S. Ct. at 1673 n.3.
       Because the Highlander was parked in an unassigned spot in a shared parking lot

for a multi-unit building that was accessible to other tenants and their guests, the
Highlander was not within the curtilage of Defendant's residence. The government has
further established probable cause to seize the Samsung cell phone for evidence            of
alleged child pornography. The search of the Highlander was therefore permissible under

the automobile exception to the warrant requirement, and Defendant's motion to suppress
is DENIED.

       C.     Whether Ms. Morrison had Apparent Authority to Consentto a
              Search of the Highlander.
       Altematively, the govemment contends that Ms. Morrison had apparent authority
to consent to the search of the Highlander based on her apparent joint ownership and joint
use of the Highlander.   "A search conducted pursuant to consent by an authorized third
parly does not require probable cause or a warrant." Koch v. Town of Brattleboro, Vt.,
287 F.3d 162, 167 (2d Cir.2002). "The question with respect to a third-party

authorization is whether the third party possesse[s] 'a sufficient relationship to the
searched premises to validate the search."' United States v.      Elliott,50 F.3d 180, 185 (2d
Cir. 1995) (quoting United States v. Trzaska, 859 F .2d I I 18,      ll20   (2d Cir. 1988)).
       "[T]hird-party consent to   a search    will validate the search if two prongs     are

present: first, the third party had access to the area searched, and, second, either:

(a) common authority over the    area1'   or (b) a substantial interest in the area; or
(c) permission to gain access;' United States v. Davis,967 F.2d 84,87 (2d Cir. 1992).

"B]ven if the third party did not have the requisite relationship to the premises, and
therefore lacked the authorrty to give a valid consent, official reliance on [her] consent


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may validate the search   if it was   reasonable for the officers to believe [s]he had the

requisite relationshipJ' Elliot, 50 F.3d at 186 (citing lllinois v. Rodriguez,497 U.S. 177,
17e (1eeo)).

       At the time of the search, the Highlander was unlocked and Ms. Morrison sat in it
for an extended period of time, entering and exiting it on multiple occasions. She
therefore had access to it. She told BPD officers that she and Defendant had been in a
romantic relationship for three years and had been living together in a shared apartment
for a year. See Koch,287 F.3d at 167 (holding that third-party consent to search
defendant's apartment was valid where an officer had seen the defendant and his
companion "together often and believed them to be very close" even though she
maintained a separate residence). Ms. Morrison further informed BPD officers that she
did not drive or have an operator's license, however, she nonetheless identified the
Highlander as "her" vehicle. A neighbor likewise told BPD that while she previously
believed the Highlander belonged to Defendant, she overheard Ms. Morrison telling
Defendant that she "want[ed] [her] car back[,]" which she identified as the "blue wagon"
parked behind her own vehicle. (Government's Exhibit          34 at21.)
       Although BPD officers did not investigate the ownership of the Highlander by
checking its registration before it was searched, it was reasonable for them to believe that
Ms. Morrison had common authority over it, a substantial interest in it, and permission to
grant access to it. As a result, "'the facts available to fCorporal Cousins] at the
moment . . . warrant[ed] a [person] of reasonable caution in the belief that the consenting
party had authority overthe [vehicle.]"' Koch,287 F.3dat167 (quoting Rodriguez,497

U.S. at 188) (internal quotation marks omitted).
       Because Ms. Morrison had apparent authority to consent to a search of the

Highlander, even assuming arguendo that she acted as the government's agent in
retrieving the Samsung cell phone from it, her search of the Highlander and seizure          of
Defendant's Samsung cell phone were lawful. Defendant's motion to suppress for lack               of
consent is therefore DENIED.



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                                    CONCLUSION
      For the foregoing reasons, the court DENIES Defendant's motion to suppress.
(Doc.48.)
SO ORDERED.

      Dated at Burlington, in the District of Vermont, this   l5*Ourof April,      2021.



                                                 Christina Reiss, District Judge
                                                 United States District Court




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